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                                                                                                           AP
                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT                                  Jul 10, 2020
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303                                              MIAMI

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                              July 10, 2020

   Joseph Harvey
   1804 HANCOCK AVE
   NORFOLK, VA 23509

   Appeal Number: 20-12528-B
   Case Style: Joseph Harvey v. USA, et al
   District Court Docket No: 1:15-cv-24012-CMA

   This Court requires all counsel to file documents electronically using the Electronic Case
   Files ("ECF") system, unless exempted for good cause. Non-incarcerated pro se parties
   are permitted to use the ECF system by registering for an account at www.pacer.gov.
   Information and training materials related to electronic filing, are available at
   www.ca11.uscourts.gov.

   The referenced case has been docketed in this court. Please use the appellate docket number
   noted above when making inquiries.

   We have received a copy of the order of the district court which does not allow this appeal to
   proceed in forma pauperis. Rule 24(a)(5) of the Federal Rules of Appellate Procedure provides:

   A party may file a motion to proceed on appeal in forma pauperis in the court of appeals within
   30 days after service of the notice prescribed in Rule 24(a)(4). The motion must include a copy
   of the affidavit filed in the district court and the district court's statement of reasons for its
   action. If no affidavit was filed in the district court, the party must include the affidavit
   prescribed by Rule 24(a)(1).

   You may within thirty (30) days from this date either pay to the DISTRICT COURT clerk the
   docketing and filing fee or you may move in this court for leave to proceed on appeal as a
   pauper (form enclosed). See 11th Cir. R. 24-2.

   Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
   Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
   CIP within 14 days after the date the case or appeal is docketed in this court;
   Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case
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   or appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP.
   See FRAP 26.1 and 11th Cir. R. 26.1-1.

   On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
   complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
   filers (except attorneys appearing in particular cases as pro se parties) are not required or
   authorized to complete the web-based CIP.

   Attorneys who wish to participate in this appeal must be admitted to the bar of this Court,
   admitted for this particular proceeding pursuant to 11th Cir. R. 46-3, or admitted pro hac vice
   pursuant to 11th Cir. R. 46-4. In addition, all attorneys (except court-appointed counsel) who
   wish to participate in this appeal must file an Appearance of Counsel form within 14 days. The
   Application for Admission to the Bar and Appearance of Counsel Form are available at
   www.ca11.uscourts.gov. The clerk generally may not process filings from an attorney until that
   attorney files an appearance form. See 11th Cir. R. 46-6(b).

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Craig Stephen Gantt, B
   Phone #: 404-335-6170

   Enclosure(s)

                                                                  DKT-6 IFP already DENIED in DC
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